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                                         No. 23-1502


                         UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT


                                    TANJANEKA JONES,
                                     Plaintiff-Appellant,

                                              v.

                                  ELI LILLY AND COMPANY,
                                      Defendant-Appellee.


                   On appeal from the United States District Court for the
                    District of Maryland, Case No. 8:20-cv-03564-ADC,
                      The Honorable A. David Copperthite, Presiding


                                   BRIEF OF APPELLANT


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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-1502
        No. __________             Caption: Tanjaneka
                                            __________________________________________________
                                                      Jones v. Eli Lilly and Co.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Tanjaneka Jones
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          appellant           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/Janice Williams-Jones
        Signature: ____________________________________                     Date: ___________________
                                                                                      May 12, 2023

                     Appellant
        Counsel for: __________________________________




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                              JURISDICTIONAL STATEMENT

              This is an employment discrimination suit arising under Title VII of the Civil

        Rights Act of 1964, 42 U.S.C. §§ 2000e et seq., the Maryland Fair Employment

        Practices Act (“MFEPA”), Maryland Code, State Government Article § 20-606, and

        42 U.S.C. § 1981. The District Court had original jurisdiction pursuant to 28 U.S.C.

        §§ 1331, 1343, and 1367.

              On April 7, 2023, the District Court granted summary judgment in favor of

        Defendant-Appellee, Eli Lilly and Company (“Appellee” or “Lilly”), and against

        Appellant, Tanjaneka Jones (“Appellant” or “Ms. Jones”), a former senior sales

        representative (“SSR”) employed by Eli Lilly in Appellee’s Washington, D.C.

        District of the Diabetes Business Unit. (JA257-276.) Ms. Jones timely filed a notice

        of appeal from the District Court’s final order (JA277) on May 2, 2023 (JA278).

        This Court has jurisdiction over the appeal pursuant to 28 U.S.C. § 1291.

                          STATEMENT OF ISSUES FOR REVIEW

              1.    Did the District Court misapply the McDonnell Douglas shifting

        burden standard to the disparate discipline claim?

              2.    Did the District Court misapply the summary judgment standard by

        making credibility determinations and failing to weigh the evidence in a light most

        favorable to Ms. Jones in concluding that Appellant failed to make out a prima facie

        case of race and/or sex discrimination?


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              3.     Did the District Court misapply the summary judgment standard by

        making credibility determinations and failing to weigh the evidence in a light most

        favorable to Ms. Jones in concluding that Appellant failed to rebut Lilly’s assertion,

        in response to her claim of retaliation, that it placed her on probation because of her

        unsatisfactory performance?

                                    STATEMENT OF THE CASE

        A.    Procedural History

              Plaintiff-Appellant Tanjaneka Jones, a Black female, timely commenced this

        employment discrimination action against Defendant-Appellee Eli Lilly by filing a

        complaint in the Circuit Court for Prince George’s County, Maryland, on February

        2, 2020. Lilly removed the action to the District Court for the District of Maryland

        on December 9, 2020. (JA2-3 at #1-#3.) On October 13, 2021, Ms. Jones filed a

        Third Amended Complaint alleging discrimination on account of sex in violation of

        Title VII and the MFEPA (Count I), retaliation on account of sex in violation of Title

        VII and the MFEPA (Count II), discrimination on account of race in violation of 42

        § 1981 (Count III), and retaliation on account of race in violation of 42 U.S.C. §

        1981 (Count IV) when her supervisor at Lilly, David Sun, put her on an unwarranted

        Performance Improvement Plan (“PIP”), depriving her of the opportunity to earn

        bonuses or promotions or to apply for other positions with Lilly. (JA8-18.)




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              Following the completion of discovery, Lilly filed a motion for summary

        judgment on October 12, 2022. (JA5 at #48.) Ms. Jones filed her response in

        opposition to Appellee’s motion for summary judgment on November 23, 2022 (JA6

        at #51 and #52), and Lilly replied to Ms. Jones’s opposition to its motion on

        December 21, 2022. (JA6 at #55.) Upon the consent of the parties to proceed before

        a U.S. Magistrate Judge, the matter was assigned to the Honorable A. David

        Copperthite, U.S. Magistrate Judge, on March 2, 2023. (JA6 at #56-#59.) On April

        7, 2023, the District Court issued a Memorandum Opinion granting Lilly’s motion

        for summary judgment (JA257-276) and entered an Order in favor of Appellee

        closing the case on that same day (JA277). In reaching its decision, the District

        Court concluded that Appellant failed to make out a prima facie case of

        discrimination because she did not “show that she was satisfactorily performing her

        job and that other employees outside of the protected class were treated more

        favorably” and that even if she had made out a prima facie case of retaliation, she

        “failed to rebut [Appellee]’s legitimate, non-discriminatory reason for placing her

        on probation: namely, her unsatisfactory performance.” (JA271.) The court found

        that Appellant had made out a prima facie case of retaliation, but that no reasonable

        juror could find that the professed reason for placing her on probation, her poor

        performance, was pretextual. (JA274-276.) Ms. Jones timely filed a notice of appeal

        on May 2, 2023. (JA278.)


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        B.    Statement Of Facts

              1.     Ms. Jones’s early days in the Baltimore District of the
                     Lilly Diabetes Business Unit

              Appellant, a Black Female with a bachelor’s degree in biology and an MBA

        (JA28:4-15), joined Lilly as an SSR in the Baltimore District of Lilly’s Diabetes

        Business Unit in 2014. (JA31:11-13, JA33:23-JA34:5, JA50:18-24, JA195 at ¶ 4).

        As an SSR, Ms. Jones was paid a base salary and was eligible for incentive

        compensation through Lilly’s Premier Rewards Program. (JA257.) Her job required

        her to meet with physicians, discuss the needs of their diabetic patients with them,

        give them sample medications, and sell them Lilly diabetic products. (JA32:15-22.)

              Although Appellant had worked in various sales roles prior to joining Lilly,

        she did not have previous experience in the pharmaceutical industry and initially

        encountered some difficulties in grasping Lilly’s procedures. (JA195 at ¶¶ 5-6.) For

        example, in her first year with Lilly, Ms. Jones received a written warning from her

        White Hispanic Male supervisor, Harold Mendoza, for unacceptable performance.

        (JA54:15-55:12), and Mr. Mendoza rated her as not sufficiently meeting job

        expectations in her first year-end review in 2015. (JA59:9-15). However, Mr.

        Mendoza rated Appellant’s performance as satisfactory in her 2016 year-end

        evaluation, and her subsequent supervisor in the Baltimore district, Indria Gibson, a

        Black female, gave Ms. Jones a satisfactory rating for 2017, as well. (JA60:13-61:7,

        JA258.)    Ms. Jones received no further discipline while she remained in the

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        Baltimore district, and during that time her overall sales were in the top ten percent

        for the mid-Atlantic region. (JA195 at ¶ 7.) Timothy Schott, the White Male

        Executive Sales Representative with whom she teamed in the Baltimore District

        considered her “a good sales partner.” He enjoyed working with her and found her

        “very sharp [and] good on her feet.” (JA222:11, 223:7-9, JA244:18-19.)

              2.     Ms. Jones is transferred to the Washington, D.C.
                     District of the Lilly Diabetes Business Unit

              Appellant’s continued success on the job was interrupted in February 2018

        when she was transferred to the Washington, D.C. District of the Diabetes Business

        Unit, due to a company realignment. (JA61:22-62:3.) For the next year, Ms. Jones’s

        supervisor in the Washington, D.C. District was Jacqueline Porter, a Black female.

        (JA61:8-21, 62:14-24.) Because she was eight months pregnant at the time of the

        transfer, Appellant worked under Ms. Porter for only one month before taking three

        months of maternity leave from March 21, 2018 to June 3, 2018. (JA196 at ¶¶ 8-9).

        During this period, she was forced to miss training offered by Lilly in Chicago on

        pre-call planning strategies. (JA196 at ¶ 10.) Unfortunately, about a month after

        her return from maternity leave, Ms. Jones was required to take three months of

        medical leave from July 10, 2018 to October 3, 2018 for emergency neck surgery.

        (JA196 at ¶ 9.) Two months after Ms. Jones returned to work the second time, Ms.

        Porter gave Appellant a year-end performance evaluation of “not sufficiently

        meeting job expectations” for the year, explaining that Appellant needed to focus on
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        pre-call planning and value-based selling (“VBS”). (JA65:13-22, JA196 at ¶ 11.)

        Ms. Porter’s evaluation, issued after accompanying Ms. Jones on a single field visit,

        did not acknowledge that Ms. Jones had not had an opportunity to develop her client-

        base because she had only worked in the Washington, D.C. district for one month

        before taking maternity leave and then she had only one more nonsequential month

        of service before taking emergency medical leave.        Nor did the performance

        evaluation mention that Ms. Jones was unable to attend pre-call training while on

        maternity leave. Instead, Ms. Porter rated Appellant’s performance as if she had

        been in the office for the entire 2018 year. (JA196 at ¶¶ 11-13.) Ms. Jones

        complained to Lilly’s Human Resources Department that Ms. Porter’s evaluation

        was unfair under the circumstances just mentioned, but she was unable to get Lilly

        to modify the assessment. (JA197 at ¶ 14.)

              Ms. Jones was supervised by White Male Mark Hudson from February 2019

        to May 2019. (JA68:7-69:22, 71:8-15.) Mr. Hudson contacted HR, inquiring about

        past problems with Ms. Jones’s performance, before he accompanied her on a single

        ride-along. (JA197 at ¶ 16.) He then went on two ride-alongs with Appellant and

        criticized her pre-call planning, (JA69:13-19, JA197 at ¶ 15) and told her she would

        be placed on a PIP. (JA106:12-13). However, he was not her supervisor at the time

        of her next annual performance review.




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              3.     Ms. Jones is supervised by David Sun and is put on a
                     Performance Improvement Plan in June 2019

              On June 1, 2019, Asian Male David Sun became Appellant’s supervisor.

        (71:16-24.) At the time Mr. Sun became her supervisor, Ms. Jones’s territory had

        the top sales results in the mid-Atlantic region and her sales were the second highest

        in the Washington, D.C. district, much higher than the sales of Brandon Fell, a White

        Male SSR also supervised by Mr. Sun. (JA197 at ¶¶ 17-18.) Nonetheless, on June

        29, 2019, less than one month after he had begun supervising her and after

        accompanying her on only one field visit, Mr. Sun put Ms. Jones on a PIP.

        (JA106:17-19; 128:14-19, JA173-175, JA197 at ¶ 19.) As a consequence of the PIP,

        Appellant was not eligible for promotions. (JA197 at ¶ 19.) The PIP was plainly

        labeled “disciplinary action.” (JA175.) Appellant agreed to the PIP because she

        believed that Mr. Sun would help her reach the goals of the PIP by explaining what

        he expected of her job performance. (JA197 at ¶ 19.)

              However, rather than explaining what he wanted from Appellant or offering

        her constructive criticism, Mr. Sun was dismissive of her and hostile toward her,

        being overly critical during sales calls and minimizing her successes. (JA197 at ¶

        20.) For instance, on one occasion Appellant had a particularly successful visit with

        a physician at the close of which the doctor shook Ms. Jones’s hand in appreciation

        for all the details she had given. Rather than report those positives in his report, Mr.

        Sun focused on the fact that Appellant suggested that the physician might want to
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        consider prescribing Glyxambi, one of the drugs in the diabetes portfolio, even

        though the doctor had previously prescribed only Jardiance. (JA126:19-128:1.) And

        when Ms. Jones showed improvement, Mr. Sun found a way to spin it as

        unfavorable, saying her performance was “inconsistent.” (JA128:7-10.) He did not

        credit Ms. Jones’s accomplishments, including her strong sales record—second

        highest on his team—and client relationships. As an example, he minimized the

        compliment of a Black Female Doctor named Dr. Donna Eversley about Ms. Jones’s

        performance during a sales call, claiming the doctor was not “genuine” and “was

        just saying what we wanted to hear.” (JA198 at ¶ 21.) Perhaps most disturbingly,

        even if Appellant and Mr. Sun verbally agreed that her pre-call planning was

        excellent in offices number one through four of a ride-along, Mr. Sun would over-

        scrutinize her performance in office number five to ensure he could claim she did

        one thing wrong. (JA198 at ¶¶ 21-22.)

              4.    Ms. Jones complains to Grace Faulkner of Lilly’s
                    Human Resources Department that Mr. Sun is
                    discriminating against her because of her race and her
                    sex

              During weekly meetings with Grace Faulkner of Lilly’s Human Resources

        Department as part of the PIP during August, September, and October of 2019, Ms.

        Jones frequently complained that Mr. Sun was abusive and dismissive on ride-alongs

        and failed to assist her in meeting her PIP goals because she was female. (JA198 at

        ¶¶ 23-24.) Later, after talking to Black colleagues at Lilly and learning of their
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        experiences with Mr. Sun, Ms. Jones complained to Ms. Faulkner that Mr. Sun’s

        treatment of her was also based on her race. Krystal Allen (“Ms. Allen”), a Black

        Female, reported to Appellant that Mr. Sun made her cry during a ride-along because

        he was so negative and unfair and described him as attacking, negative, critical,

        unpleasant, and not “motivating.” (JA198 at ¶ 25, JA227-228.) William White, a

        Black Male, also said Mr. Sun was hostile toward him, which shocked him since he

        had worked for Lilly for less than four months at the time. (JA86:10-87:11, JA198

        at ¶ 25.) Among other things, Mr. White stated that Mr. Sun treated him differently

        than his White colleagues, talking “at” him, rather than “to” him, magnifying Mr.

        White’s mistakes and minimizing his successes, falsely accusing Mr. White of lying,

        telling Mr. White he “did not like [his] style,” and, on one occasion when Mr. White

        had timely submitted one of his first expense reports, which was missing a receipt,

        rather than pointing out the need for the receipt, Mr. Sun returned the entire expense

        report to Mr. White and then wrote him up for submitting an untimely report when

        Mr. White returned the report with the receipt after the deadline. (JA230-232 at ¶¶

        7-10, 12-13, 16, and 19.)

              During an October 15, 2019 meeting with Ms. Faulkner, Ms. Jones gave

        several examples of Mr. Sun’s sexist and racist behavior. Ms. Jones reported that

        he called her overemotional and dismissed her question during a group meeting but

        answered the same question from a White sales representative. (JA82:1-20.) Ms.


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        Faulkner told Appellant that she discussed her complaints with Mr. Sun. (JA198 at

        ¶ 26.) She also conducted an investigation into Ms. Jones’s complaints, which

        consisted of interviewing other female members of Ms. Jones’s team. Ms. Faulkner

        concluded that there was no evidence that Mr. Sun was unfair, a liar, or ineffective

        in his leadership. (JA226.) However, the findings in Ms. Faulkner’s written report

        of the investigation demonstrate that, with the exception of Catherine Jones, a Black

        Female SSR, Female sales representatives of color, including Ms. Allen and Sonya

        Raikar, an Indian/Asian Female, stated that Mr. Sun was overly negative and critical,

        attacking and unwilling to help them. Ms. Raikar labeled him “demotivating.”

        White Females, on the other hand, thought he was a good supervisor. (JA227-229.)

        Jazmine M. Perry, a Black Female sales representative who began working for Mr.

        Sun in December 2019 and thus was not interviewed by Ms. Faulkner in her

        investigation of Appellant’s complaint, had an experience similar to Ms. Jones’s in

        that Mr. Sun was hypercritical of her performance, misstated information on reports

        of her performance, and was more aggressive toward her than to White sales

        representatives under his supervision. (JA239-242.)

              5.     Mr. Sun retaliates against Ms. Jones

              On October 16, 2019, the day after Appellant’s meeting with Ms. Faulkner

        that prompted the investigation, Mr. Sun put Ms. Jones on probation for three

        months. (JA176.) In the probation notice, Mr. Sun advised Ms. Jones that while on


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        probation she must meet Lilly performance standards in the areas of providing

        positive customer experiences, structuring a pre-call plan within the VBS model,

        achieving adequate call progression, communicating with her supervisor, and

        meeting administrative deadlines.     (JA178-179.)     The Notice of Probation

        concluded:

              As a result of receiving this disciplinary action, I will document this
              action in your Performance Management year-end summary, and you
              will be deemed as not sufficiently meeting expectations for 2019[.] You
              will be ineligible for a base pay increase, promotional consideration,
              and [a] Total Equity Program (“TEP”) grant, if applicable, for 2019.

              In addition, you will be ineligible for any incentive Pay under the
              Premier Rewards Plan as described [in the Notice of Probation],
              regardless of the duration of your probation[.]

        (JA179-180.) According to Ms. Faulkner, probation was the final step before

        termination. (JA255:17-22.)

              6.     Ms. Jones complains to Stephanie Long of Lilly’s
                     Human Resources Department that Mr. Sun is
                     retaliating against her because of her race and her sex

              Ms. Jones did not see any improvements in Mr. Sun’s attitude toward her after

        being put on probation, so she consulted Stephanie Long in Lilly’s Human

        Resources Department on November 1, 2019. (JA154:3-12.) Ms. Long referred

        Appellant to Richard Ruth, Executive Director of Human Resources. Ms. Jones

        reiterated her complaints that Mr. Sun lied about her performance in written

        summaries, prevented her from getting off the PIP, and treated Black sales


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        representatives, both Male and Female, more harshly than White sales

        representatives. At Ms. Jones’s request, Mr. Ruth spoke with Krystal Allen and

        William White.     He apparently concluded that there was no race or sex

        discrimination, because Ms. Allen allegedly told him that she had made up with Mr.

        Sun after he made her cry during a field visit and she believed he treated everyone

        consistently, and Mr. White stated that there was a 50/50 chance that Mr. Sun’s

        negative conduct against him was based on race discrimination. (JA154:23-157:23.)

        Mr. White, whose employment with Lilly was terminated in December 2019 (JA233

        at ¶ 38), later acknowledged that he had told Lilly’s Human Resources Department

        that there was a 50/50 chance that Mr. Sun acted with discriminatory intent, but he

        explained that at the time he made the statement he was a new employee and did

        want to complain and be perceived as a troublemaker. (JA231 at ¶ 14). After

        speaking with Appellant and Jazmine Perry and learning that they had been treated

        the same way he had been treated by Mr. Sun, he believes that Mr. Sun acted in a

        racially discriminatory manner. (JA232 at ¶ 24.)

              7.    Ms. Jones files a Charge of Discrimination with the
                    EEOC

              Having received no satisfaction from the investigations by Lilly’s Human

        Resources Depart, on November 13, 2019, Ms. Jones filed a Charge of

        Discrimination against Lilly with the Equal Employment Opportunity Commission.

        alleging that Mr. Sun discriminated against her due to sex and race, restricted her

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        bonus, and placed her on probation in retaliation for her complaints to Human

        Resources. In December 2019, Ms. Jones involuntarily resigned from Lilly. (JA199

        at ¶ 33.)

               8.    Mr. Sun did not subject a White sales representative
                     with performance issues in 2019 to the same discipline
                     as he applied to Ms. Jones

               Brandon Fell (“Mr. Fell”) was a White Male sales representative supervised

        by Mr. Sun who also had performance issues in 2019. In Mr. Fell’s 2019 Wrap-Up,

        Mr. Sun noted that Mr. Fell “missed many fundamental metrics.” (JA237.) Mr. Fell

        did not meet the standards of the Washington, D.C. district for number of customer

        business meals and customer visits, and his P2P execution was in the bottom one-

        third of the district. Mr. Sun instructed that “an immediate improvement to meet the

        basic requirement[s] for 2020 is necessary.” (JA237.) Nonetheless, Mr. Sun did

        not discipline Mr. Fell in 2019. Instead, he gave him a satisfactory performance

        evaluation and time to improve his performance with no impact on his eligibility for

        raises, bonuses, or promotions. (JA237.) The 2019 Wrap-Up did not mention a PIP,

        and it was not labeled “disciplinary action.” (JA234-237.)

               Three months later, Mr. Fell’s performance had not improved, and Mr. Sun

        gave him discipline in the form of a Written Warning on March 13, 2020. (JA192-

        194.) The Written Warning noted the following violations of Lilly policies: (1)

        using an unapproved app on a sales call, a serious violation, (2) storing refrigerated


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        drug samples improperly, (3) missing field rides with Mr. Sun, (4) failing to have

        appropriate promotional materials on a field ride with Mr. Sun, (5) failing to

        schedule two brand patient sales calls, and (6) failing to complete the number of

        required customer lunches. (JA192-193.) Ms. Faulkner testified that a Written

        Warning was a new term for what had previously been called probation. (JA256:8-

        13.) However, while the Written Warning advised Mr. Fell—just as the Notice of

        Probation advised Ms. Jones (JA179)—that he would be deemed as not sufficiently

        meeting expectations for year, it did not state that he would be ineligible for a base

        pay increase, promotional consideration, and [a] Total Equity Program (“TEP”)

        grant, if applicable, or that he would be ineligible for any incentive pay under the

        Premier Rewards Plan, as was stated in Ms. Jones’s Notice of Probation. (JA179-

        180.) Rather, the Written Warning merely stated that Mr. Fell would be subject to a

        50% financial penalty in the amount of his Premier Rewards Plan annual incentive

        target for 2020. (JA194.)

                               SUMMARY OF THE ARGUMENT

              The District Court made two fundamental errors in granting summary

        judgment in this case. First, the court misapplied the McDonnell Douglas shifting

        burden framework in this disparate discipline case by focusing its inquiry on whether

        Ms. Jones was satisfactorily performing her job. When an employee asserts a claim

        for discriminatory discipline, this Court has stated that the critical inquiry is whether


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        a similarly situated individual not in the protected class was subject to lesser

        discipline for a comparable offense. The District Court’s discussion of Ms. Jones’s

        purportedly unsatisfactory performance was relevant only to a determination of

        whether her performance was comparable to that of the identified comparator,

        Brandon Fell. The court erred in concluding that her unsatisfactory performance

        undermined her prima facie case of discrimination. It also erred in finding that

        evidence of Ms. Jones’s unsatisfactory performance was sufficient to rebut any

        argument that her performance was a pretext for discriminatory discipline, since the

        pertinent inquiry was whether her performance was a legitimate nondiscriminatory

        reason for giving her harsher discipline than was applied to a White Male co-worker

        with unsatisfactory performance.

              Second, the District Court erred in failing to apply the correct summary

        judgment standards in two ways. The District Court made credibility determinations

        that should have been left to the jury, and the District Court failed to view the

        evidence in a light most favorable to the nonmoving party, here, Ms. Jones. The

        District Court’s conclusion that Ms. Jones should not be allowed to present her

        claims of race and sex discrimination and retaliation rested on findings that Ms.

        Jones failed to show that she was satisfactorily performing her job, failed to show

        that other employees who were not Black or Female were treated more favorably

        than she was, and failed to rebut Lilly’s assertion that she was placed on probation


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        due to her unsatisfactory performance and not because she complained to Lilly’s

        Human Resources Department about race and sex discrimination. In reaching these

        conclusions, the District Court improperly discounted the credibility of other Black

        employees under Mr. Sun’s supervision that he treated Black employees more

        harshly than White employees and improperly failed to view evidence of Ms. Jones’s

        job performance and the discipline of Mr. Fell in a light most favorable to Appellant.

                                           ARGUMENT

        I.    THE DISTRICT COURT MISAPPLIED THE MCDONNELL
              DOUGLAS SHIFTING FRAMEWORK APPLICABLE TO CLAIMS
              OF DISPARATE DISCIPLINE

              A.     Standard Of Review

              This Court “review[s] the district court’s grant of summary judgment de novo,

        applying the same legal standards as the district court and viewing the facts and

        inferences drawn from the facts in the light most favorable to . . . the nonmoving

        party.” Evans v. Techs. Applications & Serv. Co., 80 F.3d 954, 958 (4th Cir. 1996).

        A grant of summary judgment is proper only when “there is no genuine issue as to

        any material fact and the moving party is entitled to a judgment as a matter of law.”

        Fed. R. Civ. P. 56(c). The court may not weigh the evidence or judge credibility.

        Jacobs v. N.C. Admin. Office of the Courts, 780 F.3d 562, 569 (4th Cir. 2015). While

        summary judgment may be appropriate in an employment discrimination case if the

        standard of Rule 56(c) is met, “courts must take special care in cases such as the


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        instant one because motive often is the critical issue in employment discrimination

        cases,” and “‘summary judgment is seldom appropriate in cases wherein particular

        states of mind are decisive as elements of [a] claim or defense.’” Ballinger v. N.C.

        Agriculture Extension Serv., 815 F.2d 1001, 1005 (4th Cir.) (quoting Charbonnages

        de France v. Smith, 597 F.2d 406, 414 (4th Cir. 1979)), cert. denied, 484 U.S. 897

        (1987).

              B.    The District Court Erred In Finding That Ms. Jones’s
                    Alleged Unsatisfactory Performance Defeated A Prima
                    Facie Claim Of Disparate Discipline

              This Court has long recognized that:

                     To establish a prima facie case of racial discrimination in the
              enforcement of employee disciplinary measures under Title VII 1, the
              plaintiff must show: (1) that he is a member of the class protected by
              Title VII, (2) that the prohibited conduct in which he engaged was
              comparable in seriousness to misconduct of employees outside the
              protected class, and (3) that the disciplinary measures enforced against
              him were more severe than those enforced against those other
              employees.

        Cook v. CSX Transp. Corp., 988 F.2d 507, 511 (4th Cir. 1993) (citing Moore v.

        Charlotte, 754 F.2d 1100, 1105-06 (4th Cir. 1985)); see also Hoyle v. Freightliner,

        LLC, 650 F.3d 321, 336 (4th Cir. 2011); Lightner v. City of Wilmington, 545 F.3d

        260, 265 (4th Cir. 2008); Taylor v. Va. Union Univ., 193 F.3d 219, 234 (4th Cir.



        1
          The District Court and both parties agreed that for purposes of the motion for
        summary judgment the Title VII standards apply to the claims under the MFEPA
        and 42 U.S.C. § 1981.
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        1999), cert. denied, 528 U.S. 1189 (2000). This three-step inquiry does not represent

        an abandonment of the shifting burden framework set forth in McDonnell Douglas

        Corp. v. Green, 411 U.S. 792 (1973). Rather, as this Court recognized in Moore,

        the analysis represents an appropriate modification to the circumstances, anticipated

        by the Supreme Court in McDonnell Douglas. Moore v. Charlotte, 754 F.2d 1100,

        1105 (4th Cir. 1985).

              However, rather than analyze Ms. Jones’s sex and race discrimination claims

        in Counts I and III as ones for discriminatory discipline, the District Court

        improperly evaluated the claims under the pure McDonnell Douglas framework, and

        asked whether: (1) Ms. Jones was a member of a protected class; (2) Ms. Jones was

        performing her job in a satisfactory manner; (3) Lilly took adverse action against

        her; and (4) Ms. Jones was treated differently from similarly situated employees

        outside the protected class. (JA265.) While the court correctly, if unnecessarily,

        found that Appellant suffered an adverse action (JA268-269), 2 its three-page

        discussion of what the court concluded was a lack of evidence of Ms. Jones’s

        satisfactory job performance 3 detracted from and diminished the relevant inquiry,


        2
          Lilly did not contest that Ms. Jones was a member of a protected class. (JA265.)
        3
          In evaluating her job performance, the District Court referred to evidence that in
        her five years with Lilly, Ms. Jones had received three unsatisfactory performance
        ratings from multiple supervisors of different genders and races. (JA268.) It is
        questionable whether it is appropriate to go back more than five years to evaluate
        the level of performance at the time of the adverse employment action. See Warch
        v. Ohio Cas. Ins. Co., 435 F.3d 510, 516 (4th Cir.), cert denied, 549 U.S. 812 (2006)
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        that is, whether Ms. Jones was subjected to harsher discipline than White Male

        Brandon Fell for comparable conduct.          Under the framework for analyzing a

        discriminatory discipline claim, set forth above, a finding of unsatisfactory

        performance by itself will not defeat a prima facie case of discrimination because

        the imposition of discipline presumes some level of unsatisfactory conduct.

        Although Ms. Jones disagrees with Mr. Sun’s assessment that she was not

        performing up to Lilly’s standards, for purposes of addressing a prima facie case on

        summary judgment, the quality of her performance is relevant only insofar as it is

        compared to that of Brandon Fell, the White Male comparator identified by Ms.

        Jones. The critical inquiry is whether Appellant has raised a genuine issue of

        material fact as to whether she was subjected to more severe discipline because of

        her race and/or sex.




        (“The further back in time a court goes to evaluate an employee's performance, the
        more removed the evidence is from the time of the termination.”). However, to the
        extent Ms. Jones's entire history is relevant to the discipline imposed by Mr. Sun, it
        should be pointed out that after a rocky start in the Baltimore district (JA54:15-
        55:12, JA59:9-15), Ms. Jones received satisfactory ratings for two years in that
        district (JA60:13-61:17, JA258). Moreover, Timothy Schott, the White Male
        Executive Sales Representative with whom she teamed in the Baltimore district
        spoke highly of her skills. (JA222:11, 223:7-9, JA244:18-19.) It was only upon
        her transfer to the Washington, D.C. district, followed immediately by a planned
        maternity leave and an unexpected medical leave that she again received an
        unsatisfactory rating (JA65:13-22, JA196 at ¶¶ 11-13) and was ultimately put on a
        PIP and then probation by Mr. Sun (JA106:17-19; 128:14-19, JA173-180, JA197 at
        ¶ 19).
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              To the extent that the District Court considered Ms. Jones’s treatment in

        comparison to that of Mr. Fell—as step 4 of the generic McDonnell Douglas

        framework rather than as step 2 of the discriminatory discipline inquiry—the court

        was “dubious” as to whether Mr. Fell was a proper comparator because it found there

        was insufficient evidence that Mr. Fell and Ms. Jones “were reprimanded for the

        same or similar conduct.” (JA283.) The court emphasized that Appellant was

        disciplined for deficient pre-call planning, but Mr. Fell was noted to have good pre-

        call planning and was disciplined for using unapproved electronic resources and

        failing to use all promotional materials. (JA283.)

              The District Court construed the requirements of a comparator too narrowly.

              [T]his Court has emphasized that a comparison between similar
              employees “will never involve precisely the same set of work-related
              offenses occurring over the same period of time and under the same sets
              of circumstances.” Cook v. CSX Transp. Corp., 988 F.2d 507, 511 (4th
              Cir. 1993). Rather, to establish a valid comparator, the plaintiff must
              produce evidence that the plaintiff and comparator “dealt with the same
              supervisor, [were] subject to the same standards and . . . engaged in the
              same conduct without such differentiating or mitigating circumstances
              that would distinguish their conduct or the employer’s treatment of
              them for it.” Haywood v. Locke, 387 F. App’x 355, 359 (4th Cir. 2010)
              (quoting Mitchell v. Toledo Hosp., 964 F.2d 577, 583 (6th Cir. 1992))
              (alterations in original).

        Haynes v. Waste Connections, Inc., 922 F.3d 219, 223-24 (4th Cir. 2019) (plaintiff

        Haynes established a prima facie case because Hicks and Haynes were appropriate

        comparators, subject to the same standards and engaged in similar conduct, but

        Hicks received more favorable treatment). In this case, both Ms. Jones and Mr. Fell
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        were supervised by Mr. Sun in the second half of 2019, as sales representatives they

        were subject to the same standards, and although their individual infractions were

        not identical, they were similar in that all involved perceived deficiencies in client

        engagement by failing to meet with clients an approved number of times, failing to

        provide information pertinent to the client, and failing to communicate with Mr. Sun.

        Moreover, there was some overlap in that each was criticized for the inadequate

        scheduling of client lunches and for failure to communicate with Mr. Sun. (JA178-

        179, JA192-192.) And in each case, their final discipline, probation in Ms. Jones’s

        case, and, later, a Written Warning in Mr. Fell’s case, could lead to termination

        (JA255:17-22), so clearly Lilly believed that the gravity of their offenses was equal.

              Notwithstanding these commonalities, the District Court stated, “These

        differentiating circumstances leave the Court unable to determine whether any

        disciplinary disparity is attributable to Plaintiff’s sex/race or simply the differences

        in Mr. Fell’s actionable conduct.” (JA270.) However, Ms. Jones’s complaints about

        Mr. Sun’s dismissive treatment of her, coupled with the observations of Jazmine

        Perry, William White, Sonya Raikar, and Krystal Allen that Mr. Sun treats women

        and persons of color (Ms. Raikar is Asian Indian) more harshly than White men and

        women, see infra Point II(B), was sufficient to raise a genuine issue of material fact

        as to Mr. Sun’s motivation for disciplining Appellant.




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              Not only did the District Court err in finding that Mr. Fell was not a proper

        comparator, but it failed to recognize that Ms. Jones and Mr. Fell were not subject

        to the same level of discipline. The court reasoned that because Ms. Faulkner

        explained that Mr. Fell’s Written Warning was just an updated version of probation,

        Appellant’s probation was not more severe discipline than that handed out to Mr.

        Fell. (JA270.) However, a comparison of Ms. Jones’s Notice of Probation with Mr.

        Fell’s Written Warning shows that while both were advised that they would receive

        an unsatisfactory rating as a consequence of the discipline (JA179, JA194), Mr. Fell

        was told that he would be subject to a 50% financial penalty in the amount of his

        Premier Rewards Plan annual incentive target for 2020 (JA194), but Ms. Jones was

        instructed that she would be ineligible for a base pay increase, promotional

        consideration, and [a] TEP grant, if applicable, and that she would be ineligible for

        any incentive pay under the Premier Rewards Plan, as was stated in Ms. Jones’s

        Notice of Probation (JA179-180). Furthermore, because prior to her probation Ms.

        Jones was disciplined with the imposition of a PIP—unlike Mr. Fell, who was given

        a satisfactory rating at the end of 2019, in spite of that fact that he had “missed many

        fundamental metrics” (JA237)—she was ineligible for promotion three months

        before her final discipline. (JA197 at ¶ 19). In light of this unexplained discrepancy

        in the penalties imposed on Ms. Jones and Mr. Fell, which went unaddressed by the




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        District Court, it was improper for the court to conclude that “there is no evidence

        that Mr. Fell was treated more favorably.” (JA271.)

              C.     The District Court Erred In Finding That Ms. Jones’s
                     Alleged Unsatisfactory Performance Was A
                     Legitimate Nondiscriminatory Reason For Placing
                     Her On Probation

              Having failed to address the evidence of the different penalties imposed on

        Mr. Fell and Ms. Jones for discipline which Lilly claims is comparable, since both a

        written warning and probation can lead to termination, the District Court was

        premature in concluding that Lilly’s explanation for the discrepancy was not

        pretextual. As discussed in Point I(B), supra, the critical inquiry in a discriminatory

        discipline case is whether the plaintiff was subject to harsher discipline than

        someone outside the protected class who had engaged in comparable conduct. The

        court accepted as nonpretextual Lilly’s explanation that Ms. Jones’s unsatisfactory

        performance justified her discipline. However, the court did not address whether

        Appellant’s unsatisfactory performance justified harsher discipline than that applied

        to Mr. Fell. Furthermore, even if it were appropriate to consider only whether the

        decision to discipline Ms. Jones was justified, there was sufficient evidence in the

        record to raise a genuine issue of material doubt as to whether the reason for her

        probation was pretextual. See infra Point II(B). For these reasons, the decision of

        the District Court on the discriminatory discipline claims (Counts I and III) should

        be reversed and this matter should be remanded for trial.
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        II.     THE DISTRICT COURT MISAPPLIED THE SUMMARY
                JUDGMENT    STANDARD     BY    MAKING  CREDIBILITY
                DETERMINATIONS AND FAILING TO WEIGH THE EVIDENCE IN
                A LIGHT MOST FAVORABLE TO MS. JONES IN CONCLUDING
                THAT APPELLANT FAILED TO MAKE OUT A PRIMA FACIE
                CASE OF RACE AND/OR SEX DISCRIMINATION

                A.    Standard Of Review

                This Court reviews a grant of summary judgment de novo. See supra Point

        I(A).

                B.    The District Court Improperly Weighed The
                      Credibility Of Witnesses And Failed To View The
                      Evidence In A Light Most Favorable To Ms. Jones

                In an employment discrimination claim, the plaintiff’s ultimate goal is to

        prove that she suffered an adverse employment action for a discriminatory reason.

        Proof of motive can often be elusive, but “[a] plaintiff’s prima facie case, combined

        with sufficient evidence to find that the employer’s asserted justification is false,

        may permit the trier of fact to conclude that the employer unlawfully discriminated.”

        Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 147-48 (2000). In this

        case, in addition to her own complaints about Mr. Sun’s dismissive and hostile

        treatment of her over several months, Appellant offered extensive evidence that

        Black and/or Female co-workers were treated more harshly than their White or Male

        counterparts, but the court did not view the evidence in a light most favorable to

        Appellant, as required on summary judgment. See Evans, 80 F.3d at 958.



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              The District Court referred to Grace Faulkner’s investigation into Ms. Jones’s

        complaints of discriminatory and unfair supervision, only to recite Ms. Faulkner’s

        conclusion that Ms. Jones’s complaint was unfounded (JA264). There was no

        mention of the contents of the investigation report, which demonstrated, in part, that

        women of color, such as Krystal Allen and Sonya Raikar, found him to be overly

        negative and critical, while White Females thought he was a good supervisor.

        (JA226-229.) The District Court omitted any discussion of comments made to Ms.

        Faulkner by Ms. Allen stating that Mr. Sun had made her cry on a field ride, was

        attacking and not motivating and by Ms. Raikar stating that he was “demotivating.”

        (JA227-228.)

              The decision of the District Court did not even acknowledge, let alone discuss,

        the affidavit of Jazmine Perry, another Black Female who was supervised by David

        Sun in 2019. Like Appellant, Ms. Perry stated that Mr. Sun was aggressive and

        demanding during ride-alongs, falsely omitted any positive performance from his

        written reports, gave her a misleading performance review, over-scrutinized her

        performance, and was overall hostile to other Black employees under his supervision

        while being encouraging and supportive to White employees. (JA239-242.) This

        omission suggests that not only did the District Court fail to view the evidence in a

        light most favorable to Ms. Jones, but the court improperly weighed the credibility




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        of Ms. Perry and found her statements incredible. This, of course, is not permitted

        on summary judgment. See Jacobs, 780 F.3d at 569.

               Similarly, the District Court ignored the affidavit of William White (JA230-

        233). While the court pointed out Mr. White’s unsworn comments to Mr. Ruth in

        November 2019, when Mr. Ruth investigated additional complaints of

        discrimination by Mr. Sun, that there was a 50/50 chance that Mr. Sun was targeting

        Black employees and that Mr. Sun’s behavior was not about race and more about

        how he runs his team like a dictatorship (JA262), there was no attempt to reconcile

        those statements with the sworn statement submitted in support of Appellant’s

        response to the motion for summary judgment, in which Mr. White explained that

        upon further consideration he believed that race played a role in Mr. Sun’s treatment

        of him. (JA232 at ¶¶ 23-24.) Mr. White stated that he did not feel comfortable

        complaining about Mr. Sun to Human Resources since he was a new sales

        representative and did not want to be seen as a troublemaker. (JA231 at ¶ 14.) In

        his affidavit, Mr. White also outlined ways in which Mr. Sun had treated him

        differently from his White colleagues, including talking “at” him, rather than “to”

        him, magnifying Mr. White’s mistakes and minimizing his successes, falsely

        accusing Mr. White of lying, and telling Mr. White he “did not like [his] style.”

        (JA230-232 at ¶¶ 7-10, 12-13, and 19.) In giving greater weight to unsworn

        comments Mr. White made to Lilly’s Human Resources Department while he was a


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        new sales representative than to his affidavit, the court effectively both gave greater

        credibility to the unsworn statements and failed to view the evidence in a light most

        favorable to Ms. Jones.

                While the court certainly is not called to sit as a personnel department, see

        DeJarnette v. Corning, Inc., 133 F.3d 293, 299 (4th Cir. 1998), where, as here, Ms.

        Jones has proffered significant evidence of discriminatory motive, including

        comparator evidence, see Laing v. Fed. Express Corp., 703 F.3d 713, 719-20 (4th

        Cir. 2013) (comparator evidence is especially relevant to a showing of pretext), the

        District Court should have allowed a jury to consider whether that evidence is

        sufficient to establish that Appellant was given harsher discipline than a White Male

        counterpart because of her race and/or sex. Therefore, this Court should reverse the

        decision of the District Court granting summary judgment on the discriminatory

        discipline claims (Counts I and III) and remand for trial.

        III.    THE DISTRICT COURT MISAPPLIED THE SUMMARY
                JUDGMENT    STANDARD    BY    MAKING    CREDIBILITY
                DETERMINATIONS AND FAILING TO WEIGH THE EVIDENCE IN
                A LIGHT MOST FAVORABLE TO MS. JONES IN CONCLUDING
                THAT APPELLANT COULD NOT MAKE OUT A RETALIATION
                CLAIM BECAUSE SHE FAILED TO REBUT LILLY’S PROFFERED
                EVIDENCE THAT MR. SUN PUT HER ON PROBATION DUE TO
                UNSATISFACTORY JOB PERFORMANCE

                A.    Standard Of Review

                This Court reviews a grant of summary judgment de novo. See supra Point

        I(A).

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              B.     The District Court Improperly Weighed The
                     Credibility Of Witnesses And Failed To View The
                     Evidence In A Light Most Favorable To Ms. Jones

              The District Court correctly found that Ms. Jones had stated a prima facie case

        of retaliation (JA272-274), but concluded that there was insufficient evidence in the

        record from which a reasonable juror could conclude that the stated reason for

        disciplining 4 Ms. Jones—her alleged poor performance—was pretextual (JA276).

        Relying on Francis v. Booz, Allen & Hamilton, Inc., 452 F.3d 299, 309 (4th Cir.

        2006) (“‘Where timing is the only basis for a claim of retaliation, and gradual

        adverse job actions began well before the plaintiff had ever engaged in any protected

        activity, an inference of retaliation does not arise.’ Slattery v. Swiss Reinsurance Am.

        Corp., 248 F.3d 87, 95 (2d Cir. 2001)”), the court concluded that because Jacqueline

        Porter had given Ms. Jones an unsatisfactory evaluation six months before she

        complained about Mr. Sun and engaged in protected activity and because Mark

        Hudson had told her that she would be placed on a PIP three months before she

        engaged in protected activity, no jury could find that Appellant’s complaints about

        Mr. Sun were the “but for cause” of her being placed on probation. (JA275.)

              The court’s reference to a “pattern of gradual adverse job actions” (JA275)

        overlooks prior satisfactory performance in the Baltimore district, where Appellant



        4
          The District Court mistakenly said “terminating,” instead of “disciplining.”
        (JA276.)
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        received satisfactory ratings in the two years immediately preceding her transfer to

        the Washington, D.C. district (JA60:13-61:17, JA258) and earned the praise of

        Timothy Schott, her White Male Executive Sales Representative teammate in the

        Baltimore district (JA222:11, 223:7-9, JA244:18-19). It also ignores the fact that

        Ms. Jones challenged the fairness of Ms. Porter’s 2018 unsatisfactory rating since

        her assessment did not take into account seven months of time missed due to a

        planned maternity leave followed by an unexpected medical leave, or Ms. Jones’s

        inability to attend pre-call planning training after giving birth. (JA65:13-22, JA196

        at ¶¶ 10-14.) Significantly, the court’s finding that probation was an inevitable

        consequence of Ms. Jones’s poor performance is brought into doubt by the evidence

        of discriminatory motive, see supra Point II(B), including Appellant’s charges that

        Mr. Sun did not assist her in meeting the goals of her PIP. (JA198 at ¶¶ 23-24.)

        Viewing all of this evidence in a light most favorable to Appellant, a reasonable jury

        could conclude that Mr. Sun did not place Ms. Jones on probation because of her

        poor performance, but, rather, he retaliated against her for complaining about his

        discrimination on account of race and sex. Therefore, this Court should reverse the

        decision of the District Court granting summary judgment on the retaliation claims

        (Counts II and IV) and remand for trial.




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                                       CONCLUSION

               For the foregoing reasons, the judgment of the District Court granting

        summary judgment should be reversed, and this matter should be remanded for a

        trial on the merits.

        Dated: July 7, 2023                        Respectfully submitted,

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                               CERTIFICATE OF COMPLIANCE

              The foregoing BRIEF OF APPELLANT complies with the type-volume

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                                   CERTIFICATE OF SERVICE

              I certify that on July 7, 2023, the foregoing BRIEF OF APPELLANT was

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